           Case 1:15-cv-00352-RBW Document 101 Filed 01/27/20 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 KAYLA DIONNE LEWIS, et al.,

 Plaintiffs,
                                                         Civil Action No: 15-352 (RBW)
     v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

 Defendant.


                                                 ORDER

                 Plaintiffs’ motion is GRANTED;


          [Plaintiffs may conduct the discovery before filing their motion for class action treatment.]


          Or


          [Plaintiffs to conduct discovery as needed to address issues raised in the District’s

Opposition to their Motion for Class Action Treatment before replying to the District’s

Opposition should the District challenge any of the factual predicates in Plaintiffs’ motion for class

action treatment that the District argued to the Court in the Meet and Confer Report and at the

Scheduling Conference Plaintiffs already had sufficient discovery on.]


                                                ______________________________
                                                HON. REGGIE B. WALTON
                                                United States District Court Senior Judge




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